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 1                                                               Judge Burgess
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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT TACOMA
 9   UNITED STATES OF AMERICA,                        )
                                                      )          NO. CR05-5828FDB
10                           Plaintiff,               )
                                                      )
11                   v.                               )          ORDER SETTING BRIEFING
                                                      )          SCHEDULE
12   BRIANA WATERS,                                   )
                                                      )
13                           Defendant.               )
                                                          )
14

15           The Court having considered Waters’ Motion Regarding Surveillance and NSA
16   Materials and to set Briefing Schedule and the Government’s Response to that Motion,
17           THE COURT ORDERS that
18           1.      Waters’ opening brief is due November 3, 2006.
19           2.      The Government’s response is due December 1, 2006.
20           3.      Waters’ reply brief, if any, is due December 15, 2006.
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //

                                                                                          UNITED STATES ATTORNEY
                                                                                         700 STEWART STREET, SUITE 5220
                                                                                           SEATTLE, WASHINGTON 98101
     ORDER SETTING BRIEFING SCHEDULE/WATERS (CR05-5828FDB) - 1                                   (206) 553-7970
             Case 3:05-cr-05828-RBL             Document 55      Filed 10/26/06     Page 2 of 2



 1           The parties shall be permitted to file overlength briefs. The Court will decide
 2   whether to schedule oral argument after reviewing the parties’ briefs, and, should the Court
 3   decided that oral argument is appropriate, when to schedule that argument.
 4           DONE this 26th day of October, 2006.
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10                                                    FRANKLIN D. BURGESS
11                                                    Senior United States District Judge

12
     Presented by:
13

14   JOHN McKAY
     United States Attorney
15

16

17   s/ Mark Bartlett
     MARK BARTLETT
18   First Assistant United States Attorney
19

20
     s/ Andrew C. Friedman
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